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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Frazier Dancy, III,

                                   Plaintiff(s),
v.                                                     Case No. 2:21−cv−11368−SFC−APP
                                                       Hon. Sean F. Cox
DCN Holdings, Incorporated,

                                   Defendant(s),



                                  ORDER TO SHOW CAUSE

    IT IS HEREBY ORDERED that Plaintiff(s) SHOW CAUSE, in writing, by 8/17/2021, why
the above−entitled case should not be dismissed for failure to prosecute, pursuant to E.D.
Mich LR 41.2. Failure to respond may result in dismissal of the case.




                                                   s/Sean F. Cox
                                                   Sean F. Cox
                                                   U.S. District Judge




                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/J. McCoy
                                                   Case Manager

Dated: August 3, 2021
